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 4   Facsimile: (888) 506-9058
 5         Counsel for Defendants and Counterclaimant
 6
                                   UNITED STATES DISTRICT COURT
 7                                  FOR THE DISTRICT OF NEVADA
 8
     FRED HOLABIRD, an Individual,
 9
              Plaintiffs,
10
     vs.                                                    Case No. 3:14-cv-00262-HDM-CBC
11
                                                              ORDER GRANTING
     DONALD H. KAGIN, an individual;
12   KAGIN’S INC., a California corporation;                  STIPULATION AND ORDER
     ADAM KAGIN, an individual;                               FOR SATISFACTION OF
13   HOLABIRD-KAGIN AMERICANA, INC.,                          JUDGMENT AND RELEASE
     a California corporation; BLACK                          OF SUPERSEDEAS BOND
14   CORPORATIONS 1-5; AND JOHN DOES
     1-5,
15
           Defendants.
16   __________________________________/
17   KAGIN’S INC., a California corporation,
18            Counterclaimant,
19   vs.
20   FRED HOLABIRD,
21         Counter-Defendant.
     __________________________________/
22

23            Plaintiff Fred Holabird (“Plaintiff”) and Defendants Donald Kagin, Kagin’s, Inc.

24   (“Kagin’s”), Adam Kagin, and Holabird-Kagin Americana, Inc. (“HKA”) (collectively,

25   “Defendants”), by and through their undersigned counsel, hereby stipulate as follows:

26            1.      U.S. Specialty Insurance Company is authorized and directed to deliver to counsel

27   for Plaintiff Fred Holabird a settlement payment to Mr. Holabird in the amount of $615,000 on

28   or before October 23,
                       27, 2020;
                           2020;


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 1          2.      Upon delivery, receipt, and negotiation of the payment prescribed by paragraph 1
 2   above, full satisfaction is hereby acknowledged on the Judgment in a Civil Case (ECF No. 250)
 3   entered in the above-entitled action on April 17, 2019 in favor of Plaintiff, above-named, and
 4   against Defendants, above-named; and any and all liens as to such Judgment in a Civil Case are
 5   hereby released; and Plaintiffs do hereby authorize and direct the Clerk of the above-entitled
 6   Court to enter full satisfaction of said Judgment in a Civil Case;
 7          3.      Upon delivery, receipt and negotiation of the payment prescribed by paragraph 1
 8   above, the Undertaking for Appeal in this matter (ECF No. 261-1) is hereby released and
 9   discharged and exonerated;
10          4.      Defendants hereby waive any further rights of appeal or appellate petitions or
11   motions relating to the Judgment in a Civil Case; and
12          5.      Plaintiff and Defendants agree to bear their own attorneys’ fees and costs on
13   appeal, and Plaintiff specifically waives any and all rights to file an application for attorneys’ fees
14   and costs on appeal pursuant to the Memorandum Decision of the Ninth Circuit Court of
15   Appeals dated October 6, 2020 in (No. 43-1) in Appeal No. 19-15982.
16          DATED this 19th day of October, 2020.
17
                                           BOWEN HALL
18                                         Counsel for Plaintiff and Counterdefendant
19
20                                             By: /s/ Dan C. Bowen
                                                  DAN C. BOWEN
21                                                5470 Kietzke Ln, Suite 300
                                                  Reno, NV 89511
22
            DATED this 19th day of October, 2020.
23
                                           LAW OFFICES OF JERRY CARTER, P.C. dba SIERRA
24                                         CREST BUSINESS LAW GROUP
                                           Counsel for Defendants and Counterclaimant
25

26
                                               By: /s/ Jerry C. Carter
27                                                JERRY C. CARTER
                                                  691 Sierra Rose Drive, Suite B
28                                                Reno, NV 89511

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 1                                                  ORDER
 2                  Based on the Stipulation of the Parties, and good cause appearing, it is hereby
 3   ordered as follows:
 4          1.      U.S. Specialty Insurance Company is authorized and directed to deliver to counsel
 5   for Plaintiff Fred Holabird a settlement payment to Mr. Holabird in the amount of $615,000 on
 6   or before October 27,
                       23, 2020;
                           2020;
 7          2.      Upon delivery, receipt and negotiation of the payment prescribed by paragraph 1
 8   above, full satisfaction is hereby acknowledged on the Judgment in a Civil Case (ECF No. 250)
 9   entered in the above-entitled action on April 17, 2019 in favor of Plaintiff, above-named, and
10   against Defendants, above-named; and any and all liens as to such Judgment in a Civil Case are
11   hereby released; and Plaintiffs do hereby authorize and direct the Clerk of the above-entitled
12   Court to enter full satisfaction of said Judgment in a Civil Case;
13          3.      Upon delivery, receipt and negotiation of the payment prescribed by paragraph 1
14   above, the Undertaking for Appeal in this matter (ECF No. 261-1) is hereby released and
15   discharged and exonerated;
16          4.      Defendants hereby waive any further rights of appeal or appellate petitions or
17   motions relating to the Judgment in a Civil Case;
18          5.      Plaintiff and Defendants agree to bear their own attorneys’ fees and costs on
19   appeal, and Plaintiff specifically waives any and all rights to file an application for attorneys’ fees
20   and costs on appeal pursuant to the Memorandum Decision of the Ninth Circuit Court of
21   Appeals dated October 6, 2020 in (No. 43-1) in Appeal No. 19-15982.
22
      Dated this 21st day of October, 2020.
23
                                                   UNITED STATES DISTRICT JUDGE
24

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26

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